                                                         Case 5:20-cv-02255-EJD Document 212 Filed 12/29/23 Page 1 of 16



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                                                17
                                                                               UNITED STATES DISTRICT COURT
                                                18                           NORTHERN DISTRICT OF CALIFORNIA

                                                19
                                                     RJ, as the representative of her beneficiary son
                                                20   SJ, and DS, an individual, on behalf of themselves
                                                     and all others similarly situated,                 Case No. 5:20-cv-02255-EJD
                                                21
                                                                          Plaintiffs,                 DEFENDANTS’ ADMINISTRATIVE
                                                22                                                    MOTION TO SEAL EXCERPTED AND/OR
                                                            v.                                        REDACTED VERSIONS OF EXHIBITS 3,
                                                23                                                    5, 8-10, 15, 17-18, 22, AND 30 TO
                                                     CIGNA HEALTH AND LIFE INSURANCE                  PLAINTIFFS’ MOTION FOR CLASS
                                                24   COMPANY, and MULTIPLAN, INC.,                    CERTIFICATION, AND EXHIBITS 9, AND
                                                                                                      10-13 TO PLAINTIFFS’ REPLY
                                                25                        Defendants.
                                                                                                      [Proposed Order filed concurrently herewith]
                                                26
                                                                                                      Hon. Edward J. Davila
                                                27
                                                                                                      Hearing: None set
                                                28


                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
                                                         Case 5:20-cv-02255-EJD Document 212 Filed 12/29/23 Page 2 of 16



                                                 1                                            INTRODUCTION

                                                 2          On December 27, 2023, the Court issued Orders ruling on Plaintiffs’ two Administrative

                                                 3   Motions to Seal filed in connection with Plaintiffs’ Motion for Class Certification and Plaintiffs’

                                                 4   Reply in Support of its Motion for Class Certification. Dkts. 209, 211 (the “Orders”). In the Orders,

                                                 5   the Court denied, without prejudice, Plaintiffs’ motion to seal deposition transcripts and a declaration

                                                 6   by Thomas Ralston in their entirety. See Dkt. 209 “Plaintiffs’ motion to seal Exhibits 3, 5, 8, 9, 10,

                                                 7   15, 16, 17, 18, 22, and 30 is DENIED WITHOUT PREJUDICE to the extent Plaintiffs seek to seal

                                                 8   the entire exhibit”); Dkt. 211 (Plaintiffs’ motion to seal the entire deposition transcripts at Exhibits

                                                 9   2, 3, 9, 10, 11, 12, and 13 is DENIED WITHOUT PREJUDICE.”). The Court ordered Plaintiffs to

                                                10   file another administrative motion to file the transcripts with appropriate redactions, or to file

                                                11   excerpted versions of these transcripts under seal. Dkts. 209 at 3, 211 at 2.
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                                                12          Exhibits 3, 5, 8-10, 15, 17-18, 22, and 30 to Plaintiffs’ Motion for Class Certification, and
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                                                13   Exhibits 9, and 10-13 to Plaintiffs’ Reply consist of (1) deposition transcripts of Cigna Health and

                                                14   Life Insurance Co. (“Cigna”) or MultiPlan, Inc. (“MultiPlan”) witnesses, (2) deposition transcripts

                                                15   of Cigna’s, MultiPlan’s, and Plaintiffs’ experts, and (3) the Declaration of Thomas Ralston. Each of

                                                16   these documents contains sensitive competitive information regarding Cigna and MultiPlan which

                                                17   could cause Defendants financial and competitive harm if disclosed, and some also contain personal

                                                18   health information of Plaintiffs, putative class members, or third parties. For these reasons,

                                                19   Defendants previously submitted Statements in Support of Plaintiffs’ Administrative Motions to

                                                20   Seal, and supporting affidavits, justifying the sealing of these documents. Dkts. 158, 184. Because

                                                21   Exhibits 3, 5, 8-10, 15, 17-18, 22, and 30 to Plaintiffs’ Motion for Class Certification, and Exhibits

                                                22   9, and 10-13 to Plaintiffs’ Reply consist of Defendants’ sensitive competitive information,

                                                23   Defendants (rather than Plaintiffs) have chosen to submit excerpted versions of the transcripts, which

                                                24   are narrowly tailored to include only the pages of the transcripts cited in Plaintiffs’ Motion for Class

                                                25   Certification and Reply, and an excerpted version of the Declaration of Thomas Ralston, which

                                                26   redacts only MultiPlan’s proprietary and confidential information.

                                                27          Therefore, pursuant to the Orders, as well as Federal Rule of Civil Procedure 26(c), Local

                                                28   Rules 7-11 and 79-5, and the Court’s Standing Order for Civil Cases, Defendants Cigna and

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                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1
                                                     MultiPlan hereby file this Administrative Motion to file under seal excerpted versions of Exhibits 3,
                                                 2
                                                     5, 8-10, 15, 17-18, 22, and 30 to Plaintiffs’ Motion for Class Certification, and Exhibits 9, and 10-13
                                                 3
                                                     to Plaintiffs’ Reply. Copies of the excerpted and redacted documents Defendants wish to seal are
                                                 4
                                                     attached hereto.
                                                 5                                           LEGAL STANDARD

                                                 6          The decision to seal records is left to the discretion of the district court. Hagestad v.

                                                 7   Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995) (citing Nixon v. Warner Communications, Inc., 435

                                                 8   U.S. 589, 599 (1978)). While courts recognize a “general right to inspect and copy public records

                                                 9   and documents, including judicial records and documents,” Kamakana v. City & Cnty. of Honolulu,

                                                10   447 F.3d 1172, 1178 (9th Cir. 2006), documents filed in support of dispositive motions may be sealed

                                                11   if there is a “compelling reason,” id. at 1179.
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                                                12          Under the “compelling reasons” standard, a district court balances “relevant factors”
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                                                13   including the harm of disclosing the information against the “public interest in understanding the

                                                14   judicial process.” Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 679 n.6 (9th Cir. 2010). Applying

                                                15   these principles, compelling reasons exist to warrant sealing where disclosing “confidential business

                                                16   material …could result in improper use by business competitors seeking to replicate [the company’s]

                                                17   business practices.” Algarin v. Maybelline, LLC, 2014 WL 690410, at *3 (S.D. Cal. Feb. 21, 2014);

                                                18   see also Nixon, 435 U.S. at 598 (“[C]ourts have refused to permit their files to serve as . . . sources

                                                19   of business information that might harm a litigant’s competitive standing.”).

                                                20          Courts have also concluded that the need to keep personal health information confidential

                                                21   outweighs the presumption in favor of public access to court records. See San Ramon Reg’l Med.

                                                22   Ctr., Inc. v. Principal Life Ins. Co., No. C 10–02258 SBA, 2011 WL 89931, at *1 n.1 (N.D. Cal. Jan.

                                                23   10, 2011) (concluding that the confidentiality of medical records outweighed the presumption in

                                                24   favor of public access to court records).

                                                25                                               ARGUMENT
                                                26          Here, Defendants have narrowly tailored their request to affirmatively seal documents

                                                27   containing two categories of information where the risk of harm to Defendants and/or third parties

                                                28   outweigh the policy favoring public disclosure: (1) documents that, if disclosed, would place Cigna

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                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1
                                                     and/or MultiPlan at a disadvantage by giving competitors and others unfair insight into their pricing,
                                                 2
                                                     proprietary processes, programs, procedures, services, methodologies, and product designs, and (2)
                                                 3
                                                     PHI relating to Plaintiffs, other putative class members, or third parties. As explained more fully
                                                 4
                                                     below, and in the prior Statements in Support of Sealing filed by Defendants (Dkts. 158, 184),1
                                                 5
                                                     compelling reasons exist to support sealing Exhibits 3, 5, 8-10, 15, 17-18, 22, and 30 to Plaintiffs’
                                                 6
                                                     Motion for Class Certification, and Exhibits 9, and 10-13 to Plaintiffs’ Reply, because they contain
                                                 7
                                                     competitively sensitive and proprietary business information and public disclosure would harm
                                                 8
                                                     Defendants’ ability to compete in the marketplace and harm their relationships with their clients and
                                                 9
                                                     vendors. Hadley v. Kellogg Sales Co., 2018 WL 7814785, at *2 (N.D. Cal. Sept. 5, 2018) (granting
                                                10
                                                     motion to seal information about “business strategies and internal decision-making”).
                                                11
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                                                                  1. The Excerpted Deposition Transcripts of Cigna and MultiPlan Witnesses Should be
                                                12                   Sealed.
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                                                13            Defendants respectfully submit excerpted versions of Exhibits 3, 5, 8, 9, 15, 17, 18, 22, and
                                                14   30 to Plaintiffs’ Motion to Class Certification, and Exhibit 13 to Plaintiffs’ Reply, which they seek
                                                15   to file under seal. These Exhibits consist of the deposition transcripts of Cigna employees Gabriel
                                                16   Smith, Michael Battistoni, Rachel Murphy, Terri Cothron, Keith Jones, and Sean Petree, and
                                                17   deposition transcripts of MultiPlan witnesses Karen Beckstead, Kathy Praxmarer, Monica
                                                18   Armstrong, and Sean Crandell.
                                                19            Defendants seek to file the aforementioned excerpted Exhibits under seal because they
                                                20   contain confidential and proprietary information that will cause Cigna and MultiPlan financial and
                                                21   competitive harm if disclosed, as well as personal health information. Defendants previously
                                                22
                                                     1
                                                23       To avoid burdening the Court with further filings for documents that are already under submission

                                                24   for prior sealing requests, such as the client declarations cited herein, Defendants will refer to
                                                25   previously filed declarations where necessary in support of this request for sealing. However, if the
                                                26
                                                     Court deems the declarations insufficient, Defendants respectfully request that they be permitted to
                                                27
                                                     file further declarations supporting filing under seal.
                                                28

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                                                         DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1
                                                     supported the filing of these Exhibits under seal at Dkts. 158 and 184. See, e.g., Warren Haskel Decl.
                                                 2
                                                     ¶ 17 (Dkt. 158-2) (noting that Exhibits 3, 5, 15, 17, and 30, amongst other exhibits, contain sensitive
                                                 3
                                                     competitive information that could cause Cigna harm if disclosed, including, but not limited to, the
                                                 4
                                                     calculation or amount of fees paid by Cigna to MultiPlan, confidential and proprietary information
                                                 5
                                                     relating to Cigna’s internal processes, policies, and practices for claims processing and
                                                 6
                                                     implementation of its out-of-network programs); Rachel Murphy Decl. ¶¶ 6-7 (Dkt. 158-4) (stating
                                                 7
                                                     that her deposition transcript includes “internal, non-public information regarding how Cigna handles
                                                 8
                                                     certain types of calls regarding out-of-network pricing, such as what internal databases and claims
                                                 9
                                                     systems call center advocates can utilize, and the training that Cigna provides to its call center
                                                10
                                                     advocates” as well as personal health information); Marjorie Wilde Decl. ¶ 14 (Dkts. 158-6) (noting
                                                11
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                                                     that the deposition transcripts of Kathy Praxmarer, Karen Beckstead, Monica Armstrong, and Sean
                                                12
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                                                     Crandell contain information on MultiPlan’s proprietary business policies and dealings), ¶ 7 (noting
                               LOS ANGELES




                                                13
                                                     that the exhibits contain highly confidential and proprietary information, the public disclosure of
                                                14
                                                     which would cause immediate and irreparable harm to MultiPlan’s business, as well as its
                                                15
                                                     relationship with Cigna); Dmitriy Tishyevich Decl. ¶¶ 13 (Dkt. 184-2) (stating that Mr. Petree gave
                                                16
                                                     testimony regarding internal, non-public information regarding how Cigna’s SIU handles
                                                17
                                                     investigations into potential healthcare billing fraud, SIU’s internal policies and procedures, as well
                                                18
                                                     as questions about SIU’s ongoing investigations into specific providers and facilities, all of which
                                                19
                                                     could put Cigna at a competitive disadvantage if it were made public); see also generally Mario
                                                20
                                                     Vangeli Decl. (Dkt. 158-3).
                                                21
                                                                2. The Excerpted Transcripts of Plaintiffs’ and Defendants’ Experts Should Be Sealed
                                                22
                                                            Defendants respectfully submit excerpted versions of Exhibits 9, 10, 11, and 12 to Plaintiffs’
                                                23
                                                     Reply, which they seek to file under seal. These Exhibits consist of the excerpted deposition
                                                24
                                                     transcripts of Defendants’ experts Sean May and Laurence Baker, and Plaintiffs’ experts Brian Piper
                                                25
                                                     and Ronald Luke.
                                                26
                                                            Defendants seek to file the aforementioned excerpted Exhibits under seal because they
                                                27
                                                     contain confidential and proprietary information that will cause Cigna financial and competitive harm
                                                28

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                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1
                                                     if disclosed. As previously supported by Defendants, the deposition transcripts of all four experts –
                                                 2
                                                     including the excerpted portions Defendants seek to file under seal – include information and
                                                 3
                                                     discussions about Cigna’s out-of-network program features and Cigna’s confidential claims data, the
                                                 4
                                                     public disclosure of which would harm Cigna’s ability to compete in the marketplace and its business
                                                 5
                                                     relationships. See Tishyevich Decl. ¶¶ 11-12 (Dkt. 184-2); see also Vangeli Decl. ¶ 9 (Dkt. 158-3).
                                                 6
                                                                3. The Redacted Ralston Declaration Should Be Sealed
                                                 7
                                                            Defendants respectfully submit a redacted version of Exhibit 10 to Plaintiffs’ Motion for
                                                 8
                                                     Class Certification, which they seek to file under seal. This Exhibit consists of the Declaration of
                                                 9
                                                     Thomas Ralston.
                                                10
                                                            Defendants seek to file the aforementioned redacted Exhibit under seal because it contains
                                                11
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                                                     confidential and proprietary information that will cause MultiPlan financial and competitive harm if
                                                12
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                                                     disclosed. As previously detailed by Defendants, the Ralston Declaration sets forth information
                               LOS ANGELES




                                                13
                                                     regarding MultiPlan processes and procedures concerning its dealings with Cigna and other clients,
                                                14
                                                     as well as pricing methodology activities, the public disclosure of which would impact MultiPlan’s
                                                15
                                                     business and competitive standing. See Wilde Decl. ¶ 13 (Dkt. 158-6).
                                                16
                                                                                              CONCLUSION
                                                17
                                                            Defendants submit that good cause exists to grant their sealing request as detailed in the
                                                18
                                                     [Proposed] Order.
                                                19

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                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
                                                         Case 5:20-cv-02255-EJD Document 212 Filed 12/29/23 Page 7 of 16



                                                 1   Dated: December 29, 2023                     Respectfully submitted,

                                                 2
                                                     By: /s/ Errol King                           By: /s/ Warren Haskel
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                                                        Attorneys for Defendant MultiPlan, Inc.
                                                20

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                                                     DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
                                                         Case 5:20-cv-02255-EJD Document 212 Filed 12/29/23 Page 8 of 16



                                                 1

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                                                 3

                                                 4

                                                 5                             UNITED STATES DISTRICT COURT
                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                 6

                                                 7   RJ, as the representative of her beneficiary son
                                                     SJ, and DS, an individual, on behalf of themselves
                                                 8   and all others similarly situated,                 Case No. 5:20-cv-02255-EJD
                                                 9                        Plaintiffs,                 [PROPOSED] ORDER GRANTING
                                                                                                      DEFENDANTS’ ADMINISTRATIVE
                                                10          v.                                        MOTION TO SEAL EXCERPTED AND/OR
                                                                                                      REDACTED VERSIONS OF EXHIBITS 3,
                                                11   CIGNA HEALTH AND LIFE INSURANCE                  5, 8-10, 15, 17-18, 22, AND 30 TO
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                                                     COMPANY, and MULTIPLAN, INC.,                    PLAINTIFFS’ MOTION FOR CLASS
                                                12                                                    CERTIFICATION, AND EXHIBITS 9, AND
                             ATTORNEYS AT LAW




                                                                          Defendants.                 10-13 TO PLAINTIFFS’ REPLY
                               LOS ANGELES




                                                13

                                                14                                                    Hon. Edward J. Davila
                                                15                                                    Hearing: None set
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                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
                                                         Case 5:20-cv-02255-EJD Document 212 Filed 12/29/23 Page 9 of 16



                                                 1
                                                            The Court, having considered its prior Orders ruling on Plaintiffs’ two Administrative
                                                 2
                                                     Motions to Seal filed in connection with Plaintiffs’ Motion for Class Certification and Plaintiffs’
                                                 3
                                                     Reply in Support of its Motion for Class Certification (Dkts. 209, 211), which denied Plaintiffs’
                                                 4
                                                     motions to seal to the extent they sought to file entire deposition transcripts and a declaration by
                                                 5
                                                     Thomas Ralston in its entirety, and which invited Plaintiffs to re-file redacted and/or excerpted
                                                 6
                                                     versions of those documents, and having further considered Defendants’ Administrative Motion to
                                                 7
                                                     Seal Excerpted and/or Redacted Versions of Exhibits 3, 5, 8-10, 15, 17-18, 22, and 30 to Plaintiffs’
                                                 8
                                                     Motion for Class Certification, and Exhibits 9, and 10-13 to Plaintiffs’ Reply, orders the following
                                                 9
                                                     documents SEALED as described below:
                                                10
                                                            In particular, the Court ORDERS as follows:
                                                11
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                                                        Description                       Portions to     Designation and Basis      Ruling
                                                12
                                                                                          be Sealed       for Sealing
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13      Exhibit 3 to Plaintiffs’          Entire          Contains and discusses
                                                        administrative motion to file
                                                        confidential documents under      excerpted       information and
                                                14
                                                        seal in Plaintiffs’ Motion for    transcript      documents designated
                                                15      Class Certification –                             Confidential and
                                                        Deposition Tr. of Gabriel                         Confidential –
                                                16      Smith                                             Attorneys’ Eyes Only
                                                                                                          by Cigna pursuant to
                                                17                                                        the Stipulated
                                                                                                          Protective Order as
                                                18
                                                                                                          they contain and
                                                19                                                        discuss confidential and
                                                                                                          proprietary information
                                                20                                                        that will cause Cigna
                                                                                                          financial and
                                                21                                                        competitive harm if
                                                22                                                        disclosed
                                                        Exhibit 5 to Plaintiffs’          Entire          Contains and discusses
                                                23      administrative motion to file
                                                        confidential documents under      excerpted       information and
                                                24      seal in Plaintiffs’ Motion for    transcript      documents designated
                                                        Class Certification –                             Confidential and
                                                25      Deposition Tr. of Michael                         Confidential –
                                                        Battistoni                                        Attorneys’ Eyes Only
                                                26                                                        by Cigna pursuant to
                                                                                                          the Stipulated
                                                27                                                        Protective Order as
                                                28                                                        they contain and

                                                                                                        -9-
                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1    Description                      Portions to      Designation and Basis Ruling
                                                 2                                     be Sealed        for Sealing
                                                                                                        discuss confidential and
                                                 3                                                      proprietary information
                                                                                                        that will cause Cigna
                                                 4                                                      financial and
                                                 5                                                      competitive harm if
                                                                                                        disclosed
                                                 6    Exhibit 8 to Plaintiffs’         Entire           Contains and discusses
                                                      administrative motion to file
                                                 7    confidential documents under     excerpted        information and
                                                      seal in Plaintiffs’ Motion for   transcript       documents designated
                                                 8    Class Certification - Deposition                  Confidential –
                                                      Tr. of Karen Beckstead                            Attorneys’ Eyes Only
                                                 9                                                      by MultiPlan pursuant
                                                                                                        to the Stipulated
                                                10                                                      Protective Order as
                                                11                                                      they contain and
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                                                                                                        discuss confidential and
                                                12                                                      proprietary information
                             ATTORNEYS AT LAW




                                                                                                        that will cause
                               LOS ANGELES




                                                13                                                      MultiPlan financial and
                                                                                                        competitive harm if
                                                14
                                                                                                        disclosed
                                                15    Exhibit 9 to Plaintiffs’         Entire           Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under     excerpted        information and
                                                16
                                                      seal in Plaintiffs’ Motion for   transcript       documents designated
                                                17    Class Certification - Deposition                  Confidential –
                                                      Tr. of Kathy Praxmarer                            Attorneys’ Eyes Only
                                                18                                                      by MultiPlan pursuant
                                                                                                        to the Stipulated
                                                19                                                      Protective Order as
                                                                                                        they contain and
                                                20
                                                                                                        discuss confidential and
                                                21                                                      proprietary information
                                                                                                        that will cause
                                                22                                                      MultiPlan financial and
                                                                                                        competitive harm if
                                                23                                                      disclosed
                                                24    Exhibit 10 to Plaintiffs’        ¶¶ 13-39,        Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under     41-42, and       information designated
                                                25                                     n.1              Confidential and
                                                      seal in Plaintiffs’ Motion for
                                                      Class Certification -                             Confidential –
                                                26
                                                      Declaration of Thomas Ralston                     Attorneys’ Eyes Only
                                                27                                                      by MultiPlan pursuant
                                                                                                        to the Stipulated
                                                28                                                      Protective Order as

                                                                                                    - 10 -
                                                     DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1    Description                      Portions to      Designation and Basis Ruling
                                                 2                                     be Sealed        for Sealing
                                                                                                        they contain and
                                                 3                                                      discuss confidential and
                                                                                                        proprietary information
                                                 4                                                      that will cause
                                                 5                                                      MultiPlan financial and
                                                                                                        competitive harm if
                                                 6                                                      disclosed
                                                      Exhibit 15 to Plaintiffs’        Entire           Contains and discusses
                                                 7    administrative motion to file
                                                      confidential documents under     excerpted        information and
                                                 8    seal in Plaintiffs’ Motion for   transcript       documents designated
                                                      Class Certification - Deposition                  Confidential and
                                                 9    Tr. of Rachel Murphy                              Confidential –
                                                                                                        Attorneys’ Eyes Only
                                                10                                                      by Cigna pursuant to
                                                11                                                      the Stipulated
MCDERMOTT WILL & EMERY LLP




                                                                                                        Protective Order as
                                                12                                                      they contain and
                             ATTORNEYS AT LAW




                                                                                                        discuss confidential and
                               LOS ANGELES




                                                13                                                      proprietary information
                                                                                                        that will cause Cigna
                                                14
                                                                                                        financial and
                                                15                                                      competitive harm if
                                                                                                        disclosed
                                                16

                                                17                                                      Contains information
                                                                                                        regarding Plaintiffs’
                                                18                                                      highly sensitive, private
                                                                                                        PHI and PII that is
                                                19                                                      protected by HIPAA
                                                20    Exhibit 17 to Plaintiffs’        Entire           Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under     excerpted        information and
                                                21                                     transcript       documents designated
                                                      seal in Plaintiffs’ Motion for
                                                      Class Certification - Deposition                  Confidential and
                                                22
                                                      Tr. of Terri Cothron                              Confidential –
                                                23                                                      Attorneys’ Eyes Only
                                                                                                        by Cigna pursuant to
                                                24                                                      the Stipulated
                                                                                                        Protective Order as
                                                25                                                      they contain and
                                                                                                        discuss confidential and
                                                26
                                                                                                        proprietary information
                                                27                                                      that will cause Cigna
                                                                                                        financial and
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                                                     DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1    Description                      Portions to      Designation and Basis      Ruling
                                                 2                                     be Sealed        for Sealing
                                                                                                        competitive harm if
                                                 3                                                      disclosed
                                                      Exhibit 18 to Plaintiffs’        Entire           Contains and discusses
                                                 4    administrative motion to file
                                                      confidential documents under     excerpted        information and
                                                 5    seal in Plaintiffs’ Motion for   transcript       documents designated
                                                      Class Certification - Deposition                  Confidential –
                                                 6    Tr. of Monica Armstrong                           Attorneys’ Eyes Only
                                                 7                                                      by MultiPlan pursuant
                                                                                                        to the Stipulated
                                                 8                                                      Protective Order as
                                                                                                        they contain and
                                                 9                                                      discuss confidential and
                                                                                                        proprietary information
                                                10                                                      that will cause
                                                11                                                      MultiPlan financial and
MCDERMOTT WILL & EMERY LLP




                                                                                                        competitive harm if
                                                12                                                      disclosed
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                      Exhibit 22 to Plaintiffs’        Entire           Contains and discusses
                                                13    administrative motion to file
                                                      confidential documents under     excerpted        information and
                                                14    seal in Plaintiffs’ Motion for   transcript       documents designated
                                                      Class Certification - Deposition                  Confidential –
                                                15    Tr. of Sean Crandell                              Attorneys’ Eyes Only
                                                                                                        by MultiPlan pursuant
                                                16
                                                                                                        to the Stipulated
                                                17                                                      Protective Order as
                                                                                                        they contain and
                                                18                                                      discuss confidential and
                                                                                                        proprietary information
                                                19                                                      that will cause
                                                                                                        MultiPlan financial and
                                                20
                                                                                                        competitive harm if
                                                21                                                      disclosed
                                                      Exhibit 30 to Plaintiffs’        Entire           Contains and discusses
                                                22    administrative motion to file
                                                      confidential documents under     excerpted        information and
                                                23    seal in Plaintiffs’ Motion for   transcript       documents designated
                                                      Class Certification - Deposition                  Confidential and
                                                24    Tr. of Keith Jones                                Confidential –
                                                                                                        Attorneys’ Eyes Only
                                                25                                                      by Cigna pursuant to
                                                                                                        the Stipulated
                                                26
                                                                                                        Protective Order as
                                                27                                                      they contain and
                                                                                                        discuss confidential and
                                                28                                                      proprietary information

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                                                     DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1    Description                       Portions to      Designation and Basis      Ruling
                                                 2                                      be Sealed        for Sealing
                                                                                                         that will cause Cigna
                                                 3                                                       financial and
                                                                                                         competitive harm if
                                                 4                                                       disclosed
                                                 5    Exhibit 9 to Plaintiffs’          Entire           Contains and discusses
                                                      administrative motion to file
                                                      confidential documents under      excerpted        information and
                                                 6                                      transcript       documents designated
                                                      seal in Plaintiffs’ Reply in
                                                 7    Support of its Motion for Class                    Confidential and
                                                      Certification - Deposition Tr.                     Confidential –
                                                 8    of Sean May                                        Attorneys’ Eyes Only
                                                                                                         by Cigna pursuant to
                                                 9                                                       the Stipulated
                                                                                                         Protective Order as
                                                10                                                       they contain and
                                                11                                                       discuss confidential and
MCDERMOTT WILL & EMERY LLP




                                                                                                         proprietary information
                                                12                                                       that will cause Cigna
                             ATTORNEYS AT LAW




                                                                                                         financial and
                               LOS ANGELES




                                                13                                                       competitive harm if
                                                                                                         disclosed
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                                                      Exhibit 10 to Plaintiffs’         Entire           Contains and discusses
                                                15    administrative motion to file
                                                      confidential documents under      excerpted        information and
                                                      seal in Plaintiffs’ Reply in      transcript       documents designated
                                                16
                                                      Support of its Motion for Class                    Confidential and
                                                17    Certification - Deposition Tr.                     Confidential –
                                                      of Laurence Baker                                  Attorneys’ Eyes Only
                                                18                                                       by Cigna pursuant to
                                                                                                         the Stipulated
                                                19                                                       Protective Order as
                                                                                                         they contain and
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                                                                                                         discuss confidential and
                                                21                                                       proprietary information
                                                                                                         that will cause Cigna
                                                22                                                       financial and
                                                                                                         competitive harm if
                                                23                                                       disclosed
                                                24    Exhibit 11 to Plaintiffs’         Entire           Contains and discusses
                                                      administrative motion to file                      information and
                                                      confidential documents under      excerpted
                                                25                                      transcript       documents designated
                                                      seal in Plaintiffs’ Reply in
                                                      Support of its Motion for Class                    Confidential and
                                                26                                                       Confidential –
                                                      Certification - Deposition Tr.
                                                27    of Ronald Luke                                     Attorneys’ Eyes Only
                                                                                                         by
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                                                     DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1    Description                       Portions to      Designation and Basis      Ruling
                                                 2                                      be Sealed        for Sealing
                                                                                                         Cigna pursuant to the
                                                 3                                                       Stipulated Protective
                                                                                                         Order as they contain
                                                 4                                                       and discuss
                                                 5                                                       confidential and
                                                                                                         proprietary information
                                                 6                                                       that will cause Cigna
                                                                                                         financial and
                                                 7                                                       competitive harm if
                                                 8                                                       disclosed
                                                      Exhibit 12 to Plaintiffs’         Entire           Contains and discusses
                                                 9    administrative motion to file                      information and
                                                      confidential documents under      excerpted
                                                                                        transcript       documents designated
                                                10    seal in Plaintiffs’ Reply in
                                                      Support of its Motion for Class                    Confidential and
                                                11    Certification - Deposition Tr.                     Confidential –
MCDERMOTT WILL & EMERY LLP




                                                      of Brian Piper                                     Attorneys’ Eyes Only
                                                12                                                       by
                             ATTORNEYS AT LAW




                                                                                                         Cigna pursuant to the
                               LOS ANGELES




                                                13                                                       Stipulated Protective
                                                                                                         Order as they contain
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                                                                                                         and discuss
                                                15                                                       confidential and
                                                                                                         proprietary information
                                                16                                                       that will cause Cigna
                                                                                                         financial and
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                                                                                                         competitive harm if
                                                18                                                       disclosed
                                                      Exhibit 13 to Plaintiffs’         Entire           Contains and discusses
                                                19    administrative motion to file
                                                      confidential documents under      excerpted        information and
                                                20    seal in Plaintiffs’ Reply in      transcript       documents designated
                                                      Support of its Motion for Class                    Confidential and
                                                21    Certification - Deposition Tr.                     Confidential –
                                                      of Sean Petree                                     Attorneys’ Eyes Only
                                                22                                                       by Cigna pursuant to
                                                                                                         the Stipulated
                                                23
                                                                                                         Protective Order as
                                                24                                                       they contain and
                                                                                                         discuss confidential and
                                                25                                                       proprietary information
                                                                                                         that will cause Cigna
                                                26                                                       financial and
                                                                                                         competitive harm if
                                                27
                                                                                                         disclosed
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                                                     DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
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                                                 1     Description                 Portions to   Designation and Basis       Ruling
                                                 2                                 be Sealed     for Sealing

                                                 3                                               Contains information
                                                 4                                               regarding Plaintiffs’
                                                                                                 highly sensitive, private
                                                 5                                               PHI and PII that is
                                                                                                 protected by HIPAA
                                                 6

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                                                     IT IS SO ORDERED.
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                                                     Dated: ____________________                         ______________________________
                                                11
MCDERMOTT WILL & EMERY LLP




                                                                                                         Hon. Edward J. Davila
                                                12
                             ATTORNEYS AT LAW
                               LOS ANGELES




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                                                         Case 5:20-cv-02255-EJD Document 212 Filed 12/29/23 Page 16 of 16



                                                 1
                                                                                                ATTESTATION
                                                 2
                                                            I am the ECF user whose identification and password are being used to file this document.
                                                 3
                                                     Pursuant to Civil Local Rule 5-1(h)(3), I, Errol King, attest that all other signatories listed, and on
                                                 4
                                                     whose behalf the filing is submitted, concur in this filing’s content and have authorized such filing.
                                                 5

                                                 6   Dated: December 29, 2023                               /s/ Errol King
                                                                                                            Errol King (admitted pro hac vice)
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                                                      DEFENDANTS’ MOTION TO SEAL, CASE NO.: 5:20-CV-02255
